
PER CURIAM.
The petition for belated appeal is granted. Petitioner shall be allowed a belated appeal of the September 13, 2007, judgment and sentence issued in Duval County Circuit Court case number 16-2007-CF-3203-AXXX-MA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as a notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
PETITION GRANTED.
VAN NORTWICK and PADOVANO, JJ., and BROWNING, JR., EDWIN B., Senior Judge, concur.
